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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

vs.                                                  No. 1:25-CR-00213-DHU

HONORIO ALBA JR.

                       Defendant.


                           NOTICE OF UNAVAILABILITY

        Nicole W. Moss, counsel for the defendant, hereby gives this Court notice that she

is unavailable on the following dates and for the following reasons. Ms. Moss

respectfully requests that the court not schedule hearings during this time period.

        1. From March 17th, 2025 through March 21, 2025, Ms. Moss will be out of the

           country.

                                                     Respectfully submitted by:

                                                     /s/ Nicole W. Moss
                                                     Nicole W. Moss
                                                     Law Office of Nicole W. Moss
                                                     514 Marble Ave N.W.
                                                     Albuquerque, NM 87102
                                                     (505) 244-0950


                             CERTIFICATE OF SERVICE

I hereby certify that a copy of this pleading was served to opposing counsel via the
CM/ECF system on this 12th day of February 2025.

/s/ Nicole W. Moss
Nicole W. Moss
